OH OEBTIORARI.Defective return on summons, cured by defendant’s adjournment.The day of serving the summons was entered in the return made by the constable; but the manner of serving, .either by reading or copy, did not appear, and this was objected to by the plaintiff in certiorari, the [*] defendant below. But it appeared that the defendant, on the back of the summons, signed a request to the justice to adjourn the trial. This objection was overruled.It was secondly objected, that the justice refused to receive the set-off of the defendant; but this set-off was not accompanied with any plea of payment, and was in general terms for cash and sundries, without specifying the particulars. The court said the justice was correct.It was thirdly objected, that the justice did not adjourn the cause on the application of the defendant; the court said this was a subject of discretion in the justice.Judgment affirmed.